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                 Exhibit 4
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Kevin Smith

From:                              Rivera, Sylvia <SRivera@mofo.com>
Sent:                              Friday, June 09, 2017 2:08 PM
To:                                John Cooper (JCooper@fbm.com); Matthew Cate (MCate@fbm.com); QE-Waymo
Cc:                                Boies Service (BSF_EXTERNAL_UberWaymoLit@bsfllp.com); UberWaymoMoFoAttorneys; Brett Schuman
                                   (BSchuman@goodwinlaw.com); Matthew Leahy (MLeahy@goodwinlaw.com); Neel Chatterjee (nchatterjee@goodwinlaw.com);
                                   Rachel Walsh (RWalsh@goodwinlaw.com); Shane Brun (SBrun@goodwinlaw.com)
Subject:                           Waymo; impact of June 5 order on privilege logs


Counsel,

Our understanding of how Magistrate Judge Corley’s MTC Order would affect our privilege claims, if it is adopted by Judge Alsup, is as follows:

        Prior to April 11, 2016, communications between (1) Uber, its counsel or its agent Stroz, on the one hand, and, on the other hand, (2) Otto or its counsel,
         Mr. Levandowski or his counsel, or Mr. Ron or his counsel, are not privileged or covered by work product protection.
        Similarly, prior to April 11, 2016 joint communications between Uber, Otto, and Stroz Friedberg are not privileged or covered by work product
         protection.
        The Stroz Report and its Exhibits are not privileged or covered by work product protection.
        Privilege and work product claims concerning communications on or after April 11, 2016 (other than the Stroz Report and its Exhibits) are not affected by
         the MTC Order.
        The MTC Order does not affect privilege and work product claims concerning communications:
             o Between any of the parties and their separate counsel
             o Between Otto, Mr. Levandowski, or Mr. Ron, or their counsel
             o Between Stroz, on the one hand, and Uber or Uber’s counsel, on the other hand

Best,
Sylvia


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